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                                    STATEMENT OF FACTS

        Your affiant, Ryan DeMary, is a Task Force Officer of the Federal Bureau of Investigation (FBI)
assigned to Pittsburgh Division, Squad 35 – Joint Domestic Terrorism/Terrorism Task Force. Currently, I
am tasked with investigating criminal activity in and around the Capitol grounds on January 6,
2021. As a Task Force Officer, I am authorized by law or by a Government agency to engage in
or supervise the prevention, detention, investigation, or prosecution of a violation of Federal
criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, shortly
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On or about January 8, 2021, a witness (W-1) contacted the FBI regarding Samuel FOX’s
involvement in the United States Capital siege on January 6, 2021. The tip identified “Samuel
FOX” by name. W-1 reported that he/she attended college with FOX and that they remained
Facebook friends to the present day. W-1 identified a specific Facebook post on FOX’s account
that depicted FOX inside the U.S. Capital building. The individual providing the tip was
interviewed telephonically and he/she provided descriptions of posts, and the pos t s
themselves , showing FOX inside the Capitol Building. Using the images and information
provided in the tip, your affiant queried a Commonwealth of Pennsylvania law enforcemen t
database. The results of the query verified that the individual in the Facebook posts was
Samuel FOX, based upon FOX’s place of residence, business information, driver’s license
registration, phone number, email addresses, and other biographical data.

        The bottom right photograph (below), circled in red, depicts FOX inside the U.S. Capital
Building, while others show him on the exterior or views of his approach to the entrances to the
U.S. Capitol:




      On January 11, 2021, a second witness (hereafter W-2) reported to the FBI that W-2 had
viewed FOX’s Facebook page which contained images, and/or videos, that depicted FOX inside
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the United States Capital Building. W-2 further reported that several posts that he or she had seen
had since been deleted from FOX’s account. According to W-2, he or she did not know FOX
personally, but was able to access FOX’s Facebook page. 1 W-2 captured, and subsequently
provided to the FBI, three images from Facebook posts made on FOX’s account. Two images
posted on January 1, 2021, referenced FOX’s plans to travel to Washington D.C. on January 6,
2021. The third image consists of FOX’s Facebook profile image. The three images, described
above, are included here:

One:




1
 In a follow-up interview, W-2 was shown several photos of FOX by FBI. He/she identified some, but not all, of
the photos shown as FOX.
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Two:




Three:




        On March 25, 2021, I requested United States Capital Police (USCP) Closed Circuit
Television (CCTV) footage from Senate Wing Door area on January 6, 2021. In response, on
March 29, 2021, the requested video footage was provided to your affiant from USCP. Upon
review of the (CCTV) footage from inside the Senate Wing Door of the U.S. Capitol on January
6, 2021, it was determined that between approximately 3:12 p.m. – 3:14 p.m., FOX was identified
based on FOX’s appearance and clothing from the comparison images identified by W-1. The
photographs of FOX from inside the U.S. Capitol (Senate Wing Door) show that FOX unlawfully
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entered the U.S. Capital Building through a broken window. In addition, FOX can be seen with a
cellular phone in his hand and appears to be recording and/or photographing events inside the U.S.
Capitol building with his cellular phone.

      Three screenshots of FOX entering or remaining in the interior of the U.S. Capitol from
the CCTV footage are depicted below:

                                   Senate Wing Door CCTV

        One:                                Two:
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Three:




        On May 3, 2021, pursuant to a search warrant authorized in the District of Columbia, law
enforcement obtained records from Google related to service provided at the U.S. Capitol. FOX’s
cellular device and email addresses were identified as having utilized a cellular site consistent with
the geographic area that included the interior of the U.S. Capitol building in and around the time
of the incident on January 6, 2021. Records further indicate, FOX’s telephone number, ending
with      0031      and      email      addresses;      westmorelandmovers@gmail.com              and
samuelfoxamericanincome@gmail.com, were active on Google cellular towers at approximately
on January 6, 2021 at 20:03.02 UTC (approximately 3:03 PM EST). The phone number and email
addresses obtained in the Google search warrant matched the information obtained from the query
to the Commonwealth of Pennsylvania law enforcement database.

        Facebook records obtained pursuant to an authorized search warrant, FOX’s Facebook
account corroborated information provided by W-1 and W-2, that FOX posted several pictures to
his Facebook account depicting his activities on January 6, 2021. Screenshots of FOX’s post
activity that were taken in and around the U.S. Capitol building, subsequently deleted (by FOX)
but preserved by Facebook, are shown below. The unique picture IDs are circled in red.
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                 Screenshots of deleted Facebook posts
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FOX’s Facebook records from January 10, 2021, include conversations in which FOX admits his
entry into the U.S. Capital building on January 6, 2021. One such conversation appears below:
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         Based on the foregoing, your affiant submits that there is probable cause to believe that
Samuel FOX violated 18 U.S.C. §§ 1752(a)(1) and (2), which make it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant further submits that there is probable cause to believe that Samuel FOX
violated 40 U.S.C. §§ 5104(e)(2)(D) & (G), which criminalizes violent entry/disorderly conduct
on U.S. Capitol grounds and parading, demonstrating or picketing in a Capitol building.


                                                    _________________________________
                                                    RYAN DEMARY
                                                    FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 16th day of June 2021.
                                                                    Digitally signed by G.
                                                                    Michael Harvey
                                                                    Date: 2021.06.16
                                                    ___________________________________
                                                                    11:28:29 -04'00'
                                                    G. MICHAEL HARVEY
                                                    UNITED STATES MAGISTRATE JUDGE
